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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
_________________________________________________________________

UNITED STATES OF AMERICA,       )
                                )
          Plaintiff,            )
                                )
vs.                             )        No. 08-20397-JPM-dkv
                                )
MORRIS AKINS,                   )
                                )
          Defendant.            )
_________________________________________________________________

 REPORT AND RECOMMENDATION ON DEFENDANT’S MOTION TO SUPPRESS THE
           SHOW-UP AND IN-COURT IDENTIFICATION OF AKINS
_________________________________________________________________

     The defendant, Morris Akins, has been charged in a four-count

indictment with (1) robbery affecting commerce in violation of 18

U.S.C. § 1951; (2) knowingly using and carrying a firearm during

robbery affecting commerce in violation of 18 U.S.C. § 924(c); (3)

killing   Michael   Byest      with    the   intent    to    prevent   him   from

communicating information relating to a robbery affecting commerce

to law enforcement officer or judge of the United States; and (4)

conspiring to affect interstate commerce by robbery from on or

about May 10, 2007 to on or about June 11, 2007.              Before the court

is the May 7, 2010 motion of Akins to suppress the show-up

identification and the state court identification of Akins by

witness Michael Byest.      The government filed a timely response in

opposition.     The   motion     was    referred      to    the   United   States

Magistrate Judge for report and recommendation.

     Pursuant to the reference, an evidentiary hearing was held on
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August 16 and 17, 2010.1          At that hearing, the defense called three

witnesses: (1) private investigator Dorv Armour; (2) the defendant,

Akins; and (3) expert witness Dr. John Brigham.                      The defense

produced a number of exhibits including the booking photograph of

Akins (Ex. 1); photographs relating to the scene of the incident

(Ex. 2-16); a CD of the relevant 911 dispatch calls (Ex. 17); a CD

of    Akins’   preliminary      hearing    in    state   court   (Ex.    18);   the

curriculum vita of Dr. Brigham (Ex. 19); the affidavit of complaint

(Ex. 20); A/T-3 (Ex. 21); A/T-5, Officer Taylor’s memo (Ex. 22);

A/T-6 (Ex. 23); A/T-7 (Ex. 24); A/T-8, Byest’s written statement

(Ex. 25); and A/T-20 (Ex. 26).                  The government called three

witnesses: (1) Lt. Jerry Webb; (2) Susan Taylor, with the District

Attorney’s     Office;    and     (3)   Sergeant   Joseph     Poindexter.       The

government     also   produced      several     exhibits   including:     the   MPD

accident report (Ex. 27); the transcript of Akins’ preliminary

hearing (Ex. 28.); and Susan Taylor’s notes (Ex. 29).                         After

careful consideration of the statements of counsel, the testimony

of the witnesses, the evidentiary exhibits, and the entire record

in this case, this court submits the following findings of fact and

conclusions of law and recommends that the motion to suppress be

denied.




       1
          The evidentiary hearing included both the present motion
to suppress (D.E. No. 225) and Akins’ Motion to Suppress the Search
of 949 E. Brooks Road filed May 10, 2010, (D.E. No. 226), for which
a separate Report and Recommendation is submitted.
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                       I.    PROPOSED FINDINGS OF FACT

       On May 10, 2007 at or around 6:00 pm, the Memphis Police

Department (“MPD”) responded to a robbery dispatch at the Easy Way

grocery store (“Easy Way”) located at 4599 Elvis Presley Boulevard,

Memphis, Tennessee.          (Tr. at 120.)     The dispatch alerted the MPD

that there were two black male suspects and one female suspect who

left the scene in a white and tan Chevrolet Tahoe with a license

plate number “389-LBC.” Lt. Jerry Webb arrived at the scene of the

Easy Way and spoke with a witness, Michael Byest.                  (Tr. at 122.)

       According to Lt. Webb’s testimony, Byest was an employee at

the Advance Auto Parts store directly adjacent to the Easy Way

grocery.2       (Tr. at 122; Ex. 25.)        Byest reported to the officers

that he witnessed a man pacing in the Advance Auto Parts parking

lot.       (Tr. at 144.)    A few minutes later, Byest said he saw a black

male with a blue shirt come out of the Easy Way and walk around the

back of the store.         (Tr. at 103.)   Byest observed the man jump into

the back of the white and tan Chevrolet Tahoe driven by the black

male who had been pacing in the parking lot and accompanied by a

black female passenger.           (Tr. at 122.)     According to Lt. Webb,

Byest provided the officers with a tag number “389-LBC”, which was

only one character off from the actual tag number “389-LQC”.                  (Tr.

at 123, 138-39.)       Byest informed the officers that he had seen all



       2
          Byest was not available to testify at the evidentiary
hearing because on February 17, 2008 police discovered that he had
been murdered in his home.
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the individuals and was prepared to make an identification if

necessary.    (Tr. at 125.)

        Shortly after the robbery occurred, officers located and

detained three suspects: Akins, Willie Mae Stokes, and Michael

Hill.    (Tr. at 124-25, 140, 143.)     The officers brought all three

suspects to the scene of the robbery, handcuffed and in separate

patrol cars, so that Byest could identify each one individually.

(Tr. at 124-25, 140.)      Within 30 to 35 minutes of the robbery,

Byest identified Akins and Willie Mae Stokes as individuals who

fled the scene in the Tahoe.         (Tr. at 125-26, 143.)            He also

eliminated Michael Hill as a suspect. (Tr. at 126.)                 Lt. Webb

testified that Byest was told that he did not have to make a

positive identification.       (Tr. at 126.)

        Akins admits that he was at Advanced Auto Parts on May 10,

2007.     (Tr. at 33.)     He testified, however, that he went to

Advanced Auto Parts to get a part, but that after he got out of his

truck, he changed his mind about going into the store and got back

into his truck and left to go back to his place of business at 949

East Brooks Road.    (Tr. at 33-34.)     Akins further testified that

the police arrived at 949 East Brooks Road, told him of a robbery

that had taken place at the Easy Way, handcuffed him, and took him

back to the Easy Way for identification.        (Tr. 34-36.)     At the Easy

Way, Akins stated that the police brought out four people, one at

a time, to the police car, where he was handcuffed and sitting in

the back of the car, to possibly identify him.             (Tr. at 37-40.)
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According to Akins, each individual looked at him through the

window of the squad car, the first three individuals seemed to

shake their heads indicating “no,”         (Tr. at 37-39), but the last

man was brought within 20 feet of the car he shook his head to

indicate “yes.”     (Tr. at 40.)

         There is a discrepancy in the testimony of Lt. Webb and Akins

as to whether Akins was taken out of the patrol car during the

show-up identification.        (TR at 40, 142.)    Lt. Webb testified that

Akins, “as best as [he] could recall,” was taken out of the squad

car and was standing right next to the car when he was observed by

Byest.     (Tr. at 141-42.)      Akins stated that Byest viewed him 20

feet away, while he was sitting in the back of the squad car.              (Tr.

at 40.)3

     In addition to the show-up identification, Byest later made an

in-court identification of Akins at the state court preliminary

hearing on May 31, 2007.           (Tr. at 157.)         Susan Taylor, the

prosecuting attorney with the District Attorney’s Office handling

the preliminary hearing in state court, testified that she did not

point out Akins to Byest prior to the hearing or show Byest where

Akins would be sitting.        (Tr. at 158.)      The recording of Byest’s

testimony from the state preliminary hearing was admitted into

     3
       This court, however, has previously found that Akins is not
a credible witness based on his multiple felony convictions, his
bias as an interested party in the proceeding, and the lack of
evidence corroborating his testimony. Furthermore, Akins appeared
nervous when he testified about why he was at the Advanced Auto
Parts store earlier that day.
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evidence, (“Ex. 18"), and the transcript of the hearing was also

introduced into evidence, (“Ex. 28").            In the state preliminary

hearing, Byest testified that he worked at Advanced Auto Parts next

door to the Easy Way grocery.             He was in the parking lot at

Advanced Auto Parts when he noticed a white SUV parked on the back

side of the Advanced Auto Parts’ parking lot.                Byest saw a man

pacing in the parking lot who never went into the store.                   A few

minutes later he noticed a man fleeing from the Easy Way around the

back side of the store who then jumped into the Tahoe which fled

the scene.      Byest identified Akins as the driver of the vehicle.

       Dr. Brigham, an emeritus professor of psychlogy at Florida

State University, testified as an expert witness on behalf of the

defense.       (Tr. at 64.)   His primary focus of research for thirty

years was eyewitness memory.         (Tr. at 65.)     Dr. Brigham said that

he     would     classify     Byest’s    identification       of     Akins        as

“questionable.” (Tr. at 82.) He testified that the identification

was “suggestive” for the following reasons: it was a show-up

identification, Akins was handcuffed, Akins was not removed from a

police car, the witness was told that the get-away truck had been

located, and a woman accomplice was brought along with Akins. (Tr.

at 80-81.)        Dr. Brigham testified that research shows that a

witness’ certainty of an identification is not a reliable indicator

of accuracy.      (Tr. at 88.)    Dr. Brigham also testified that in his

expert opinion the subsequent state court hearing was “not very

meaningful” because there is no way to know if the witness is
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relying on his memory from the show-up identification. (Tr. at 89-

91.)

       Dr. Brigham provided no written report. (Tr. at 93.) His fee

is $300 per hour or $1800 per day.               (Tr. at 93.)        He usually

testifies on behalf of the defense; he has only testified for the

prosecution two times out of several hundred.              (Tr. at 95.)       Dr.

Brigham testified that he is excluded from testifying as an expert

about fifty percent of the time in court. (Tr. at 96.)

                     II.    PROPOSED CONCLUSIONS OF LAW

       In the present motion, Akins argues that both the show-up

identification and the in-court identification made by Byest should

be suppressed because the identification procedures were so unduly

suggestive and unreliable that he was denied due process of law.

In    response,    the     government   argues   that   both      identification

procedures were reliable; therefore, Akins’ motion to suppress

should be denied.

A.     Show-up Identification of Akins

       A show-up is an identification procedure in which suspects are

singularly and directly shown to a witness for the purpose of

identification.       BLACK’S LAW DICTIONARY 656 (3d pocket ed. 2006).            A

show-up identification should not be admitted into evidence if the

confrontation      conducted      was   so   unnecessarily     suggestive     and

conducive to irreparable mistaken identification so as to deny a

defendant due process of law.           Neil v. Biggers, 409 U.S. 188, 196

(1972)(citing Stoval v. Denno, 388 U.S. 293, 301-02 (1967)).                  The
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defendant has the burden to demonstrate that the identification

procedure violates his or her right to due process.                 “A defendant

is denied due process ‘only when the identification evidence is so

unreliable that its introduction renders a trial unfair.’” United

States v. Meyer, 359 F.3d 820, 824 (6th Cir. 2004)(quoting Smith v.

Perini, 723 F.2d 478, 482 (6th Cir. 1983)).                 The Sixth Circuit

applies     a   two-step        analysis    when   determining      whether        an

identification procedure should be suppressed.              Meyer, 359 U.S. at

824.    First, the defendant has the burden of proving that the

identification     procedure       was     unnecessarily    suggestive.        Id.

Second, if the defendant demonstrates that the procedure was

suggestive, the court will then determine whether the procedure was

nonetheless reliable.       Id.

       1.    Whether the Show-up Identification was Unduly Suggestive

       In the present case, Akins argues that he has met his burden

to establish that the show-up identification was unduly suggestive

because (1) the Supreme Court has recognized that a show-up is

disfavored      because    it     is   suggestive,    (2)    Dr.    Brigham    has

demonstrated that show-ups are inherently suggestive, and (3) Dr.

Brigham has shown that Akins’ show-up was even more biased than a

standard show-up.     Specifically, Dr. Brigham called Akins’ show-up

“questionable” because at the time of the show-up Akins was viewed

by four witnesses while seated in the back of a police car in

handcuffs, Willie Mae Stokes and Michael Hill were both handcuffed

and transported to the scene of the crime in patrol cars, Byest was
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told that the getaway car had been found, and Byest’s testimony on

where he viewed Akins pacing is inconsistent.             In response, the

government argues that the show-up was not unduly suggestive

because Byest made the identification shortly after the initial

robbery   call,   he   viewed   each   suspect    separately,     and    Byest

identified Akins and Stokes, but eliminated Hill as a suspect.

     Although the Supreme Court recognized in Stovall v. Denno, 388

U.S. 293, 302 (1967), that show-ups have been condemned, the Court

also recognized that whether a show-up violated due process depends

on the totality of the circumstances.          (Id.)     In fact, the Sixth

Circuit has repeatedly held that prompt, certain, on-the-scene

show-ups are not unnecessarily suggestive.             See United States v.

Craig, 198 Fed. Appx. 459, 467 (6th Cir. 2006)(holding that a bank

manager’s identification of a robber was not unduly suggestive

because the manager viewed the robber’s face, gave an accurate

description to the police, and did not hesitate when identifying

the robber twenty minutes after the robber’s arrest); Bruner v.

Perini, 875 F.2d 531, 534-35 (6th Cir. 1989)(holding that a show-up

did not violate due process because the bakery employee (who was

the victim) had direct contact with a robber, her attention was

focused, and she identified the suspect as the robber thirty

minutes after the robbery without any uncertainty); Stidham v.

Wingo, 482 F.2d 817, 818-19 (6th Cir. 1973)(finding a show-up

permissible when the victim of a robbery was brought immediately to

the scene of arrest where he identified the defendant as a robber).
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Additionally, the Sixth Circuit noted that “handcuffs and police

custody are necessary incidents of an on-the-scene identification

that    do    not     render    the    pretrial       identification          procedure

unnecessarily suggestive.”            Craig, 198 Fed. Appx. at 466 n. 1.

       Byest was selective in his identification.                      Although three

suspects were brought to Byest to be identified, Byest eliminated

Michael Hill as a suspect.            Dr. Brigham stated that the fact that

Byest was selective is a positive factor and indicates that “Mr.

Byest wasn’t simply going to pick out anybody he saw.”                        Byest also

gave a detailed description of Akins and the car that he was

driving.      It is important to note that Dr. Brigham never said the

show-up      was    unduly   suggestive.        He    only    stated     that    it    was

“questionable,” that the show-up was “not necessarily wrong, but

that it’s suggestive enough that it should not be given a lot of

strength in terms of its probative value,” and that “the Morris

Akins show-up was more suggestive than the average show-up.”                          (Tr.

at 82, 89.)        Dr. Brigham did state that he did not like show-ups in

general.      (Tr. at 106.)       There is no evidence to show that the

officers      pressured      Byest    in    any      way     to   make    a     positive

identification.         Byest identified Akins as the getaway driver

within thirty to thirty-five minutes after he gave a detailed

description of Akins to the police. In light of these factors, the




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court finds that Akins has not proven the show-up identification

was unduly suggestive.4

     2.    Whether the Show-up Identification was Reliable

     Even though the court has found that Akins did not prove that

the show-up was unduly suggestive, the court will analyze whether

the show-up was none-the-less reliable.          Akins argues that there

are several indications which demonstrate that the show-up was

unreliable: Byest’s level of certainty should be questioned because

he only gave his level of confidence three weeks after the show-up;

Byest did not show up at felony response; the lack of documentation

regarding exactly what occurred; Byest was the only witness that

identified Akins; the officers did not ask Byest to identify Akins’

clothing; the random nature of three individuals taken to the show-

up; the lack of proof that the bullet recovered from Easy Way

matches the firearm recovered at 949 E. Brooks Road; and Byest is

now deceased and cannot be cross-examined.

     In response, the government submits that these arguments are

unsupported and that, using the five factors listed in Neil v.

Biggers, the totality of the circumstances demonstrate that the

show-up identification was reliable.      Additionally, the government

submits that Byest’s identification is also supported by the

following independent evidence against Akins: within minutes of the

     4
      There is a discrepancy in the testimony of Lt. Webb and Akins
as to whether Akins was taken out of the patrol car during the
show-up identification. The court finds this discrepancy to be
immaterial.
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robbery, Akins was located several miles from the Easy Way and in

possession of a vehicle matching the description given by Byest;

the search of E. Brooks Road, Suite 2, where Akins was located and

detained, resulted in the recovery of a silver firearm and a

patterned blue shirt - both matching Byest’s description given to

the police; the ballistics report confirmed that the firearm

recovered had similar characteristics to a bullet found at the Easy

Way; and Akins himself admitted to being at the Advanced Auto Parts

Store, driving his Tahoe, just minutes before the robbery occurred.

     The Supreme Court looks at the totality of the circumstances

to determine whether an identification procedure was reliable and

lists the following factors to consider: (1) the opportunity of the

witness to view the criminal at the time of the crime; (2) the

witness’ degree of attention; (3) the accuracy of the witness’

description of the criminal; (4) the level of certainty of the

witness at the confrontation; (5) and the length of time between

the crime and the confrontation.            Neil v. Biggers, 409 U.S. 188,

199-200 (1972).        In addition to the factors listed in Biggers,

courts may also consider any independent evidence against the

defendant as long as it is reliable.              Keene v. Mitchell, 525 F.3d

461, 466 (6th Cir. 2008).

     The first factor, the opportunity of the witness to view the

criminal   at   the    time   of    the   crime,    weighs    in    favor   of   the

reliability     of    the   show-up    identification.         In    his    written

statement, (Ex. 25), Byest said that he first noticed Akins because
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Akins looked suspicious while pacing in the Advanced Auto Zone

parking lot.    Byest viewed Akins for several minutes before Akins

left the scene.    The second and third factors also indicate that

the show-up was reliable.       Byest seemed to pay a great degree of

attention to Akins.      He was able to describe Akins’ actions in

detail and was not involved in the crime taking place or under any

sort of pressure while observing Akins. Byest was able to give the

MPD an accurate description of the Tahoe Akins was driving and

descriptions of the three individuals inside the Tahoe. Byest also

gave the officers the car’s license plate number, mistaking only

one letter. The fourth factor, the witness’ level of certainty, is

also positive.    Although Byest did not state his certainty until

three weeks after the robbery, he did answer affirmatively when

asked whether he was “positive the guy the Police brought back to

the Easy Way was the guy [he] saw driving the Chevy Tahoe.” (Ex.

25.) There are also no indications that Byest was uncertain of his

identification.    Finally, the fifth factor weighs in favor of the

reliability of the show-up.      The show-up took place only 30 to 35

minutes after the robbery.      In addition to these five factors, Dr.

Brigham agreed that the following factors also weigh in favor of

the show-up being reliable: Byest was an adult (age 32); Byest and

the defendant were of the same race; during Byest’s observation of

Akins, Byest was just a witness and never had a gun pointed at him;

the distance was not very great between where Akins stood and where


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Byest     witnessed        Akins;    and   Byest     was     selective     in    his

identification.       (Tr. at 98-106, 109.)

        Although the defense goes to great lengths to try to impeach

Byest’s testimony through pointing out inconsistencies concerning

where Byest said he was standing when he witnessed Akins, the court

does     not   find    this    convincing.         Byest’s   testimony      in   the

preliminary hearing and his statement taken by police on May 30,

2007 consistently describe what he witnessed on May 10, 2007, in

all material respects.

        In addition, the fact that Byest is now deceased and cannot be

cross-examined does not persuade the court to suppress the show-up.

Akins had the opportunity to cross-examine Byest through his

attorney when Byest testified under oath at the state court

preliminary hearing.          Furthermore, the fact that Byest was not

asked about Akins’ clothing or that the ballistics report does not

definitively state that the bullet found at the Easy Way came from

the gun retrieved at 949 E. Brooks Road, but only states that the

firearm had similar characteristics to the bullet, does not make

Byest’s identification of Akins any less reliable.

        Based on Byest’s opportunity to view Akins, his attention to

the situation at hand, his detailed description of the suspects,

Akins’ Tahoe, and its license plate number, and the short amount of

time that elapsed between Byest’s report to the police and his

identification        of   Akins,    the   totality     of   the     circumstances

demonstrates that the show-up identification was reliable.                       The
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evidence does not suggest that Byest was under any pressure by the

police to make a positive identification or that he was ever

uncertain about the identification that he made. Furthermore, the

fact     that   Byest   was   a   black,   adult    male,    selective     in   his

identification of suspects, and gave detailed descriptions of

Akins’ Tahoe and the t-shirt that were both found at 949 E. Brooks

Road, also adds to the reliability of the show-up.

        The show-up identification has not been proven to be unduly

suggestive and, based on the totality of the circumstances, the

show-up identification was reliable.             Thus, the court recommends

that Akins’ motion to suppress the show-up identification be

denied.

B.      In-Court Identification of Akins

        Akins argues that the in-court identification of Akins made by

Byest at the state preliminary hearing on May 31, 2007 should be

suppressed because “it is the product of a flawed process and

unreliable.”      (D.E. No. 271 at 12.)      If an in-court identification

is based on a previous improper pretrial identification, the in-

court identification must be suppressed as violating due process.

See Simmons v. United States, 390 U.S. 377, 384 (1968).                 Akins has

presented no evidence that indicates the in-court identification

was unreliable besides stating that it was the product of an unduly

suggestive show-up.        There is nothing in the state’s preliminary

hearing transcript that demonstrates Byest’s identification was

unreliable.       In addition, Susan Taylor, the prosecuting attorney
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handling the preliminary hearing, testified that she did not point

out Akins to Byest and did not pressure Byest into giving a

positive identification.       Because the show-up identification was

found to be reliable and there is no evidence that the in-court

identification was unreliable, this court recommends that Akins’

motion to suppress the in-court identification be denied.

                          III. RECOMMENDATION

     For the reasons expressed above, it is recommended that Akins’

motion to suppress be denied.

     Respectfully submitted this 17th day of December, 2010.


                                         s/Diane K. Vescovo
                                         DIANE K. VESCOVO
                                         UNITED STATES MAGISTRATE JUDGE




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